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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AMERICAN OVERSIGHT,
Plaintiff
Case No. 1:25-cv-883

V.

PETE HEGSETH, in his official capacity as
Secretary of Defense, ef al.,

Defendants.

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DECLARATION OF GERALD J. DZIECICHOWICZ

I, Gerald J. Dziecichowicz, declare as follows:

1. Iam an Associate Deputy General Counsel in the Office of the General Counsel of the

United States Department of Defense (“DoD”) assigned to work on this litigation. |

make this declaration in opposition to plaintiff's motion for a temporary restraining order.

The statements in this declaration are based on information and belief obtained by me in

the course of my official duties.

2. The DoD Office of the General Counsel has contacted the Secretary of Defense’s

communications staff and requested that a copy of the Signal messages at issue in this

case, based upon recent media reports, be forwarded to an official DoD account.

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comply with the Department’s preservation obligations.
I declare under penalty of perjury that the foregoing is true.

March 27, 2025

The DoD Office of the General Counsel is in the process of issuing a litigation hold to

